EXHIBIT
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4/24/25, 10:49 PM                American Civil Liberties Foundation of PA Mail - Activity in Case 3:25-cv-00113-SLH A.S.R. v. TRUMP et al Order



                                                                                                        Vanessa Stine <vstine@aclupa.org>



  Activity in Case 3:25-cv-00113-SLH A.S.R. v. TRUMP et al Order
                                                                                                                        Tue, Apr 15, 2025 at 3:12
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                                                               U.S. District Court

                                                      Western District of Pennsylvania

     Notice of Electronic Filing
     The following transaction was entered on 4/15/2025 at 3:12 PM EDT and filed on 4/15/2025
     Case Name:           A.S.R. v. TRUMP et al
     Case Number:         3:25-cv-00113-SLH
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     Document Number: 8

     Docket Text:
     ORDER OF COURT - IT IS ORDERED that Respondents hereby are TEMPORARILY
     ENJOINED, pending further order of this Court, from either removing Petitioner or any
     members of the putative class from the Western District of Pennsylvania. This Court finds
     that Petitioner and members of the putative class have demonstrated that irreparable harm
     will result if they are transferred from this district or removed from the United States prior to
     a response and hearing; and, IT FURTHER IS ORDERED that Petitioners' counsel is directed
     to serve Respondents with a copy of the class action petition for a writ of habeas corpus,
     application for temporary restraining order and all accompanying papers, along with a copy
     of this Order, by email to the United States Attorney's Office for the Western District of
     Pennsylvania, and promptly to file proof of such service on the docket; and, IT FURTHER IS
     ORDERED that Respondents shall file a response to Petitioners' Emergency Application for
     a Temporary Restraining Order [Doc. [2]] on or before April 16, 2025; and, IT FURTHER IS
     ORDERED that a hearing on Petitioners' emergency application for a temporary restraining
     order [Doc. [2]] hereby is scheduled for Friday, April 18, 2025, at 11:00 a.m., in Courtroom A,
     319 Washington Street, Johnstown, Pennsylvania, before Judge Stephanie L. Haines; and,
     IT FURTHER IS ORDERED that this order shall expire upon this Court's resolution of
     Petitioners' application for a temporary restraining order, and as more fully stated in said
     Order of Court. Signed by Judge Stephanie L. Haines on 4/15/2025. (dlg)

     3:25-cv-00113-SLH Notice has been electronically mailed to:

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4/24/25, 10:49 PM               American Civil Liberties Foundation of PA Mail - Activity in Case 3:25-cv-00113-SLH A.S.R. v. TRUMP et al Order
     Vanessa Stine     vstine@aclupa.org, legaladmin@aclupa.org

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     a21d70b94e418af626acdbc827d4a4f60751c352a55516550a541a1f1003c]]




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